Case 2:20-bk-21020-BR Doc 1-1 Filed 12/18/20 Entered 12/18/20 13:04:34 Desc
  Appendix Addendum To Petition With Additional Petitioning Creditors Page 1 of 4



                     EXHIBIT "A" TO INVOLUNTARY PETITION
Case 2:20-bk-21020-BR Doc 1-1 Filed 12/18/20 Entered 12/18/20 13:04:34 Desc
  Appendix Addendum To Petition With Additional Petitioning Creditors Page 2 of 4
Case 2:20-bk-21020-BR Doc 1-1 Filed 12/18/20 Entered 12/18/20 13:04:34 Desc
  Appendix Addendum To Petition With Additional Petitioning Creditors Page 3 of 4
Case 2:20-bk-21020-BR Doc 1-1 Filed 12/18/20 Entered 12/18/20 13:04:34 Desc
  Appendix Addendum To Petition With Additional Petitioning Creditors Page 4 of 4
